
ON MOTION
PER CURIAM.

ORDER

The United States moves to summarily affirm the Court of Federal Claims’ dismissal of John Bramlett Wade Ill’s complaint for lack of jurisdiction. Wade moves for leave to proceed in forma pau-peris.
Wade filed a complaint in the Court of Federal Claims, alleging that the United States owed him $502,781,592 for actual costs and punitive damages relating to various alleged offenses including bad faith, conspiracy, commercial war, commercial credit slander, and continuous tort. Explaining that the Court of Federal Claims lacked jurisdiction over tort claims, and further noting that Wade did not identify a claim based upon a money-mandating statute, regulation, or constitutional provision, the court dismissed the complaint. Wade appealed.
We agree with the United States that summary affirmance is warranted. Summary affirmance of a case “is appropriate, inter alia, when the position of one party is so clearly correct as a matter of law that no substantial question regarding the outcome of the appeal exists.” Joshua v. United States, 17 F.3d 378, 380 (Fed.Cir.1994). The Court of Federal Claims correctly determined that Wade did not identify a claim based upon a money-mandating statute, regulation, or constitutional provision and correctly determined that it does not have jurisdiction over tort claims.
Accordingly,
IT IS ORDERED THAT:
(1) The motion for summary affirmance is granted.
(2) The motion for leave to proceed in forma pauperis is granted.
(3) All sides shall bear their own costs.
